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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
UNITED STATES OF AMERICA                             )
                                                     )
       V.                                            ) Case No. 1 :21-cr-118 (RCL)
                                                     )
LISA MARIE EISENHART                                 )



                 ORDER MODIFYING DEFENDANT'S BOND CONDITIONS

       Having considered Defendant's Consent Motion for Modification of Bond, any responses

thereto, and the case record generally, and for good cause shown, it is hereby

       ORDERED that the Consent Motion is GRANTED. The conditions of Ms. Eisenhart's

bond are hereby modified by replacing the home confinement condition with a condition placing

her under curfew on a schedule to be determined by U.S. Pretrial Services. All other conditions

of bond remain unchanged, including location (GPS) monitoring of Ms. Eisenhart that shall

remain in effect at all times, including when she engages in employment outside of her home.

       IT IS SO ORDERED.



Date                                         The Honorable Royce C. Lamberth
                                             Senior United States District Judge
